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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:02CR353
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                MEMORANDUM
                                              )                 AND ORDER
BARRY RENFOLD COOLEY,                         )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to reduce his sentence

as a result of the recent amendments to the crack cocaine sentencing guidelines (Filing

No. 685). Counsel was appointed and made an appearance. (Filing Nos. 687, 689.) The

government filed a brief opposing the Defendant’s motion. (Filing No. 693.) The probation

office has completed a worksheet.

       The Defendant was sentenced as a career offender to life imprisonment. (Filing No.

515.) The Eighth Circuit Court of Appeals affirmed Cooley’s conviction and sentence.

(Filing No. 552.) This Court denied Cooley’s motion brought under 28 U.S.C. § 2255.

(Filing Nos. 643, 644.) This Court denied Cooley’s motion for a certificate of appelability.

(Filing No. 662.) The Eighth Circuit also denied the application for a certificate of

appelability and dismissed Cooley’s appeal. (Filing No. 683.) Cooley’s motion for a

reduction in his sentence due to the recent amendments to the crack cocaine sentencing

guidelines followed. (Filing No. 685.)

       Cooley seeks a downward adjustment of two levels under the new crack cocaine

guidelines. However, the Eighth Circuit has stated that a career offender’s base offense

level is determined under U.S.S.G. § 4B1.1 and not U.S.S.G. § 2D1.1. The sentencing

commission lowered the levels under § 2D1.1(c) and did not amend § 4B1.1. United
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States v. Tingle, 524 F.3d 839, 840 (8th Cir.), cert. denied, 129 S. Ct. 473 (2008).

Therefore, the crack cocaine amendments have no effect on Cooley’s case. Id. His

motion to reduce his sentence is denied.

      IT IS ORDERED that the Defendant’s motion to reduce his sentence as a result of

the recent amendments to the crack cocaine sentencing guidelines (Filing No. 685) is

denied.

      DATED this 1st day of April, 2009.

                                                 BY THE COURT:



                                                 s/Laurie Smith Camp
                                                 United States District Judge




                                             2
